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                                                              1    TIMOTHY F. HUNTER, ESQ.
                                                                   Nevada Bar No. 010622
                                                              2    RAY LEGO & ASSOCIATES
                                                                   7450 Arroyo Crossing Parkway, Suite 250
                                                              3    Las Vegas, NV 89113
                                                                   Tel: (702) 479-4350
                                                              4    Fax: (702) 270-4602
                                                                   tfhunter@travelers.com
                                                              5
                                                                   Attorney for Defendant,
                                                              6    QUALSERV SOLUTIONS, LLC

                                                              7                             UNITED STATES DISTRICT COURT

                                                              8                                      DISTRICT OF NEVADA

                                                              9    EDWARD SHEAN COMMINEY, JR., an                   Case No.: 2:19-cv-00508-JAD-NJK
                                                                   individual,
                                                             10
                                                                                       Plaintiff,
                   7450 Arroyo Crossing Parkway, Suite 250
Ray Lego & Associates




                                                             11
                                                                   vs.
                        Telephone No. (702) 479-4350
                        Facsimile No. (702) 270-4602
                          Las Vegas, Nevada 89113




                                                             12
                                                                   QUALSERV SOLUTIONS LLC, a Foreign                   Stipulation and Order for Binding
                                                             13
                                                                   Limited Liability Company; SAM’S WEST,              Arbitration
                                                             14    INC., d/b/a SAM’S CLUB #4974, a Foreign
                                                                   Corporation; DOE STORE MANAGERS I
                                                             15    through X, and/or DOE ASSISTANT STORE
                                                                   MANAGERS I through X; DOE ASSISTANT
                                                             16    STORE MANAGERS I through X; DOE                           ECF No. 82
                                                                   OWNERS I through X; DOE PROPERTY
                                                             17    MANAGERS            I    through    X; DOE
                                                                   MAINTENANCE EMPLOYES I through X;
                                                             18    DOE JANITORIAL EMPLOYEES I through
                                                                   X; DOE MANUFACTURERS I through X;
                                                             19    DOE DESIGNERS I through X; ROE
                                                                   MAINTENANCE COMPANIES XI through
                                                             20    XX; ROE MAINTENANCE COMPANIES
                                                                   XI through XX; ROE OWNERS XI through
                                                             21    XX; ROE EMPLOYERS XI through XX;
                                                                   ROE MANUFACTURERS XI through XX;
                                                             22    ROE DESIGNERS XI through XX; DOES
                                                                   XXI       through       XXV;      and  ROE
                                                             23    CORPORATIONS, XXV through XXX,
                                                                   inclusive, jointly and severally,
                                                             24
                                                                                       Defendants.
                                                             25
                                                                                      STIPULATION FOR BINDING ARBITRATION
                                                             26
                                                                         Plaintiff, Edward Shean Comminey, Jr., by and through his attorney, Kimball Jones,
                                                             27
                                                                   Esq. of BigHorn Law, Defendant, Qualserv Solutions LLC, by and through its attorney,
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                                                              1    Timothy F. Hunter, Esq. of the law firm of Ray Lego & Associates, and Defendant, Sam’s

                                                              2    West, Inc. d/b/a Sam’s Club #4974, by and through its counsel, James Murphy, Esq. of the law
                                                              3
                                                                   firm of Lewis Brisbois Bisgaard & Smith, hereby stipulate and agree to submit Edward Shean
                                                              4
                                                                   Comminey’s claim against Qualserv Solutions LLC and Sam’s West, Inc. d/b/a Sam’s Club
                                                              5
                                                                   #4974 arising out of an incident which occurred on February 15, 2017 to binding arbitration.
                                                              6
                                                                   The parties further stipulate and agree as follows:
                                                              7

                                                              8           1.      The arbitration shall be binding and shall be the sole and final resolution and

                                                              9    adjudication of this matter between the parties. This clause is of the essence of this Stipulation.

                                                             10    Thus, the arbitrator’s award shall be the sole recovery for this claim and the arbitrator’s decision
                   7450 Arroyo Crossing Parkway, Suite 250
Ray Lego & Associates




                                                             11
                                                                   and award shall be final, binding, and non-appealable.
                        Telephone No. (702) 479-4350
                        Facsimile No. (702) 270-4602
                          Las Vegas, Nevada 89113




                                                             12
                                                                          2.      James Armstrong, Esq. will serve as the Arbitrator and the hearing will take
                                                             13
                                                                   place on or before February 26, 2021 at the law office of Thorndal, Armstrong, Delk,
                                                             14
                                                                   Balkenbush & Eisinger or another location if necessary to be agreed upon by the parties.
                                                             15

                                                             16           3.      All discovery that was conducted during the course of this litigation shall be

                                                             17    admissible for any purpose during the binding arbitration, unless excluded by the arbitrator

                                                             18    based upon Nevada law or the Federal Rules of Civil Procedure.
                                                             19
                                                                          4.      Arbitration briefs are to be submitted in accordance with the instructions and
                                                             20
                                                                   desires of the Arbitrator. Any documentary evidence that will be submitted to the Arbitrator
                                                             21
                                                                   will be provided to the other party prior to the close of discovery.
                                                             22
                                                                          5.      At the arbitration hearing, all parties may be heard, and the parties may present
                                                             23

                                                             24    testimony from witnesses to the subject incident and/or from witnesses having knowledge of

                                                             25    any alleged damages.        The parties have agreed to allow witnesses to testify via a

                                                             26    videoconferencing platform as necessary. In lieu of such testimony, transcripts of depositions
                                                             27
                                                                   and medical records may be submitted. Medical records and bill shall be admissible if a
                                                             28
                                                                                                                    2
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                                                              1    Custodian of Records certificate has been provided.

                                                              2                 6.   The Arbitration shall not be informed of the range of awards agreed upon by the
                                                              3
                                                                   parties and set forth in a separate agreement. The parties will bear their own attorneys’ fees and
                                                              4
                                                                   costs. There will be no prejudgment interest.
                                                              5
                                                                                7.   Each party shall bear one third of the fees of the arbitrator with the exception of
                                                              6
                                                                   any cancellation feel that is assessed due to the unilateral action or request of one party.
                                                              7

                                                              8                 8.   Defendants will pay the arbitration award within 14 business days of the

                                                              9    Arbitrator’s final decision. The parties shall execute further documents as necessary to give full

                                                             10    force and effect to this Stipulation, including a stipulation and order for dismissal of the pending
                   7450 Arroyo Crossing Parkway, Suite 250
Ray Lego & Associates




                                                             11
                                                                   lawsuit, with prejudice.
                        Telephone No. (702) 479-4350
                        Facsimile No. (702) 270-4602
                          Las Vegas, Nevada 89113




                                                             12
                                                                                9.   The parties acknowledge that the final and executed version of this Stipulation
                                                             13
                                                                   indicates agreement of the parties to its provisions and no provision of this agreement is to be
                                                             14
                                                                   interpreted against any party because it or its legal representative drafted or contributed to the
                                                             15

                                                             16    drafting of that provision.

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                                                              1           10.     Pursuant to the October 8, 2020 Order of the Court the parties are required to

                                                              2    attend a Mandatory Settlement Conference on November 16, 2020, Calendar Call on December
                                                              3
                                                                   7, 2020, and Trial on December 15, 2020. Given the parties have agreed to binding arbitration,
                                                              4
                                                                   the parties request that the settlement conference and trial related dates be vacated.
                                                              5
                                                                   DATED this 6th day of November, 2020                    DATED this 6th day of November, 2020
                                                              6

                                                              7    RAY LEGO & ASSOCIATES                                   BIGHORN LAW
                                                              8
                                                                   _/s/ Timothy F. Hunter__________                        __/s/ Kimball Jones          ______
                                                              9    Timothy F. Hunter, Esq. #10622                          Kimball Jones, Esq., #12982
                                                                   7450 Arroyo Crossing Parkway, Suite 250                 Siria L. Gutierrez, Esq., #11981
                                                             10    Las Vegas, NV 89113                                     2225 E. Flamingo Rd, Bldg 2, #300
                                                                                                                           Las Vegas, NV 89119
                   7450 Arroyo Crossing Parkway, Suite 250




                                                                   Attorney for Defendant,
Ray Lego & Associates




                                                             11    QUALSERVE SOLUTIONS, LLC                                Attorney for Plaintiff,
                        Telephone No. (702) 479-4350
                        Facsimile No. (702) 270-4602




                                                                                                                           EDWARD SHEAN COMMINEY, JR
                          Las Vegas, Nevada 89113




                                                             12

                                                             13    DATED this 6th day of November, 2020.

                                                             14    LEWIS BRISBOIS BRISGAARD & SMITH

                                                             15
                                                                   ___/s/ James Murphy         ____
                                                             16    James Murphy, Esq. #008586
                                                             17    6385 S. Rainbow Blvd., #600
                                                                   Las Vegas, NV 89118
                                                             18    Attorney for Defendant,
                                                                   SAM’S CLUB WEST, INC. D/B/A SAM’S CLUB #4974
                                                             19

                                                             20
                                                                                                             ORDER
                                                             21
                                                                          Based on the parties' stipulation [ECF No. 82] and good cause appearing, IT IS
                                                             22    HEREBY ORDERED that the stipulation is approved, and this case will be resolved by
                                                                   binding arbitration. The Jury Trial scheduled for 12/15/2020 and all related hearings and
                                                             23
                                                                   deadlines [ECF No. 80] are VACATED. The Clerk of Court is directed to
                                                             24    ADMINISTRATIVELY CLOSE THIS CASE.

                                                             25
                                                                                                                        _________________________________
                                                             26                                                         U.S. District Judge Jennifer A. Dorsey
                                                                                                                        Dated: November 9, 2020
                                                             27

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